                     Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 1 of 21



Revised 03/06 WDNY                       UNITED STATES DISTRTCT COURT
                                         WESTERN DISTRICT OF NEW YORK

                                  FORM TO BE USED IN FILING A COMPLAINT
                                 UNDER THE CML RTGHTS ACT, 42 U.S.C. $ 1983
                                                    (Prisoner Compiaint Form)
                                                                                                                    l;wfask
A11   material filed in this Court is now avaiiable via the INTERNET. See Pro Se Priv                   Notice for further information.

                                                    1. CAPTION OF ACTION

A.      Full Name And Prisoner Number of Plaintiff: NOTE: If more than one plaintiff Jiles this action and seeks in forma
pauperis status, each plaintiff must submit an in forma pauperis application and a signed Au:I"o"lAz9,t-9!,.or the only plaintiff to be
considered wilt be the plaintiff who filed an application and Authorization.           ,,i"i. ' .


2.

                                                                  -vs-
B.        FullName(s)ofDefendant(s) NOTET PursuanttoFed.R.Civ.P.t0(a),thenamesofgllpartiesmust.appearintliecaption.
The court may not consider a claim against anyone not identified in this section as a defendant. If yiu heva.-tu.af.e tha"a'S{x defendants,
you may continue this section on another sheet ofpaper ifyou indicate below that you have done so.
14,.G-,(e,t                                                                     W
2.    A. Qr trt-,'e                                                       5.

                                                                          6.




                                              2. STATEMENT OF JURISDICTION

 This is a civil action seeking relief andlor damages to defend and protect the rights guaranteed by the Constitution of the
 United States. This action is brought pursuant to 42 U.S.C. $ 1983. The Court             has   jurisdiction over the action pursuant to
 28 U.S.C. $$ 1331, 1343(3) and (4), and2201.



                                                  3. PARTIES TO THIS ACTION
 PLAINTIFF'S INFORMATION NOTE:                      To list additional plaintiffs, use this format on another sheet of paper.

 Name and Prisoner Number of Piaintiff:                                                                          ta8
                                                                                                               {'
 Present Place of Confinement      & Address:




 Name and Prisoner Number of Plaintiff:

 Present Place of Confinement & Address:




                                                                                                                                              a
              Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 2 of 21




DEFENDANTTS INT,ORMATION                  NOTE:    To   proviile information about more defendants than there is roomfor here, use this
format on another sheet ofPaPer.
                          zP-r,      Go Ke-Y
Name   ofDerenaant
                                                                           (
(If applicable) Official Position of Defendant:
(If appticable) Defendant is sued    n     J     udividual     and/or I         official capacity
Address of Defendant:
 jS.*o+.s. P,*ru+q .          9/ , Rn nl.r'f t'( , l.)e-t'u' Va(( / el.fc/ (                                '


Name ofDefendant:

 (If applicable) Offrcial Position of Defendant:
 (If applicabie) Defendant is Sued   in        ]Andividual and/or        l,/     O*cial   Capacity



  S*a*c- ?.,*,.+o qL, *.*.t''(r'-<, , *S*'D tfL< tq{V/'
 Name of Defendant:

 (If applicable) Official Position of Defendant:
 (If applicabie) Defendant is Sued   in    L./{trrdividuai and/or
 Address of Defendant:




                             4. PREYIOUS LAWSUITS IN STATE AND FEDERAL COURT

          Have you begun any other lgxsuits in state or federal court dealing with the same facts involved in this
                                                                                                                   action?
  A.                          'No /
                   Yes-
                                                                                                                 the same facts as this
  If yes. complete the next seition. NOTE: If you have brought more than one lawsuit dealing with
  *tio", *i  this format to describe the other action(s) on another sheet of paper.
  1.      Narne(s) of the parties to this other lawsuit:

          Plaintiff(s):
          Defendant(s):



  2.       court (if federal court, name ttre district; if state court, name the county):


  3.       Docket or Index Number:
  4.       Name of Judge to whom case was assigned
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           +l
               Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 4 of 21




          The approximate date the action was filed:

6.        What was the disposition of the case?
                  Is it still pending?     Yes- No-
                               If not, give.the approximate date it was resplved'
                   Disposition (check the statements which apply):

                   _        Dismissed (check the box which indicates why it was dismissed):
                                        By court sua sponte as frivolous, malicious or for failing to state a claim
                                        upon which relief can be granted;
                                        By court for failure to exhaust administrative remedies;
                                        By court for failure to prosecute, pay filing fee or otherwise respond to a court
                                         order;
                                         By court due to yourvoluntary withdrawal of claim;

                             P*uponmotionorafterkialenteredfor
                                _plaintiff
                                _ defendant.

           Have you begun any other lawsuits in federal court which relate
                                                                           to your imprisonment?
 B.
                    Yes              No:/.
     Ifyes.completethenextsection. NoTE: Ifyouhavebroughtmorethanoneotherlawsuitdealingwithyourimprisonment,
                                                                               paper.
          thlt t"*, f"r^.on tfrrrrlfb" the other action(s) on another sheet of
     "*
     1"     Name(s) of the parties to this other lawsuit:
                    Plaintiff(s):


                    Defendant(s):



     2.     District Court:
            Docket Number:
     A
            Name of District or Magistrate Judge to whom case was assigned:



     5.      The approximate date the action was filed:

     6.      What was the disfosition of the case?
                       ls   it still pending?   Yes- No-
                                  If not, give the approximate date it was resolved'
           Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 5 of 21




               Disposition (check the statements which apply):
                                  (check the box which indicates why it was dismissed):

               -Dismissed BycourtSur-sPonteasfrivolous,maliciousorforfailingtostateaclaim
                              which relief can be granted;
                                 upon

                                 By court for faiiure to exhaust administ'ative remedies;
                                 By court for failure to prosecute, pay frling fee or otherwise respond to a
                                                                                                             court
                                  order;

                                  By court due to your voh:ntary with&awal of claim;
                      Judgment upon motion or after trial entered for

                -              Plaintiff
                                defendant-

                         -

                                                  5. STATEMENT OF CLAIM
For your information, the following is  list of some of the most frequently raised grounds for relief in proceedings under 42
                                           a

U.S.C. $ 1983. (This list does not include all possible claims')

                . Religion         ' Access to the Courts                     .   Search   &   Seizure
                . Free Speech                                                 . Malicious Prosecution
                                   'False Arrest
                . Due Process                                                 . Denial of Medical Treatment
                                   'Excessive Force
                . Equal Protection 'Failure to Protect                        . Right to Counsel


pleasenotethatitisnotenoughtojustlisttheground(s)foryouraction. Youmustincludeastatementofthefactswhich
youbdlievesupporteachofyourclaims. Inotherwords,.tellthestoryofwhathappenedtoyoubutdonotuselegaljargon-

Fed.R.Civ.F. g(a) states that   a pleading must contain "a short and    piain statement of the claim showing that the pleader is
                                                                                                             asserted. Fair notice
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim
                                                                                                            judicata, and identify
is that which will enable the adverse party to answer and prepare for trial, aliow the application
                                                                                                     of res
                                                  proper fonn    of trial." Ei@l,3b@,49              F.3d   83, 86 (2d Cir. 1995).
the nature of the case so it may  be assigned the
                                                     claim      shall     made in numbered   paragraphs,  the contents  of each of
Fed.R.Civ.p. l0(b) states that "[a]11 averments of          ...        be
which shall be limited as far a practicable to a single set of  circumstances."



                                               Exhaustion of Administrative Remedies

Note that according to 42 U.S.C. $ 1997e(a), "[n]o action shall be brought with respect to prison conditions under section
19g3 of this title, or any other Federal law, by a prison er confined in any
                                                                             jai!, prison, or other correctional facility until such
administrative remedies as are available are exhausted."

 you must provide information about the extent of your efforts to grieve, appeal, or otherwise exhaust your administrative
 remedies, and you must afiach copies of any decisions or other documents which indicate that you have exhausted your
 remedies for each claim you assert in this action.
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Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 7 of 21




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Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 8 of 21




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                   Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 12 of 21
       I




A. FrRSr cLArM: on (date of the incident)          nlT0bt,8.                  , I , e0l L
defendant (give the name and position held of each defendant involved in
                                                                         this incident)               C,   ,   AR   r , +,'orv '-



did the following to me (briefly state what each defendant named above did):
                                                                                                                                          ,a
                                                                                                                                          '. *.u &




                                                                                                                                              .tr
                                                                                                                                              ,* t\
 '-)   rt i'r\6N1tr5 ' r-.-.', S O F' kcc t\ -i
f[e'constitutional basis    for this cla-iEt under +iils.c.   $ 1983   is:                                                                5€-
                                                                                                                                              \{Njt




                                Exhaustion of Your Administrative Remedies for this Claim:
 Did you gdeve or appeal this     claim? u,/ yes                  No     If yes, what was the   result? "r\ o ci , F . <-c-,+ , <r ,".J


 Did you appeal that     decision?     ty'   Yes         No      If   yes, what was the result?



                         Attach copies of any documents that indicate that you have exhausted this claim

 If you did not exhaust your administrative remedies,     state why you did not do so:




 A. SECOND CLAIM: On (date of the             incident)                                                                                   ,


 defendant (give the name and position held of each defendant involved in this incident)
               Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 13 of 21
   I



                                                                 above did):
did the following to me (briefly state what each defendant named




The constitutional basis for this claim under 42 U'S'C' $ 1983 is:


The reiief I am seeking for this claim is (briefly state the relief sought):




                               Exhaustion of Your Administrative Remedies for this Claim:

 Did you grieve or   aPPeal this claim?          Yes            No   If yes, what was the result?


 Did you appeal that decision?            Yes          - No    If yes, what was the result?


                       Attach copies of any documents that indicate that you have exhausted this clsim.

 If you did not exhaust your administrative remedies, state why you did not do      so:




 If you have additional claims, use the above format and set them out on additional                       sheets of paper.



                                                       6.   RELIEF SOUGHT
                            Summarize the relief requested by you in each statement of claim above.
                                                                                                                             r*,.&l)




                                                                                                                               *9*')n



  Doyouwantajury triall       Yes   t/    No-
        Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 14 of 21




I declare under penalty ofperjury that the foregoing    is true and correct'

Executedor, lCl - ]LC - l5
                                (date)
NOTE:Eachplaintiffmustsignthiscomplaintandmustalsos        I subsequent papers   filed with the Court,




                                                      Signature(s) of Piaintiff(s)
Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 15 of 21




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                      Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 16 of 21
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          Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 17 of 21
                 YORK
,..... STATE OF NEW
   COTINTY OF ALBANY       SUPREME COURT

                                         of                                              ORDER
    In the Matter of the APPlication

    JOSEPH JACKSON
                                                                                         rNDEX # 997-r3

                                                                                          DIN # 05-B-1287

                                                                                          oRI # NY001035J
    for Poor Person Status Pursuant to
    CPLR $1101(0.

    Nature of Action or Proceeding: Article 78

    The above-named inmate under sentence for conviction
                                                         of a crime and having made application
    pursuant to CPLR $ 1 10 i (0 for Foor Person status,

    It is hereby ORDERED that this application is:

                                                                 fees must be paid by the inmate      within 120 days of the
     tr     DENIED, and all applicable fiting
                                                                       deemed dismissed without further
            date of this order, or else the action/proceeding shalt be
            order of the court.

     */     o*oNTED,       and the inmate is directed to pay a reduced              filing   fee of   s   /S@     and he/she
                                                                                this court unless a recovery
            shall be liabie for no other fees in the actitn/proceeding before
            by judgment or by settlement is had in his/her favor in
                                                                         which event the court may direct
                                                                                 hereby forgiven'
            frimffrer to pay oui of the recovery all or part of such fees as are

     It is further ORDERED:

     o/      That the inmate IS NOT REQUIRED to make any initial
                                                                         payment to the court of a portion
             of the reduced filing fee. The full amount of the ieduced filing
                                                                                 fee shall be reported to the
                                                                               where the inmate is confined'
             superintendent or oiher public official in charge of the facility
                                                                                    as mandatory surcharges
             who shall collect such amount from the inmate in the same manner
             are collected pursuant to section 60.35(5) of the Penal Law'

     tr      That the inmate IS REQUIRED to make an initial payment of $                  . , of the reduced
                                                                                         the  amount of the
             filing fee. Once such initial payment is fully received !1 the court,
                                                                                fee, or $        . , shall be
             difference between such initiaipayment and the reduced filing
                                                                      and reported to the superintendent    or
             assessed as an outstanding obliiaiion of the inmate
                                                                              is confined, who shall   collect
             oitrer puUfic official in chige of th" facility where the inmate
             such amount from the inmate in the ,u*. **rer as mandatory
                                                                                   surcharges are collected
             pursuant to section 60.35(5) of the Penal Law'
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                Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 18 of 21
Albany County County Clerk Document Search - Document     Details                   Page 1 of   1




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Document Number: 1 1 338481

Related Names:
  JACKSON JOSEPH 05-8-1287 Plantiff
  NYS COMMISSIONER OF COHRECTION SERV Defendant


Document Location:
Civil Flat File Area - Year:20'13 Civil lndex Numbe:997
Type Of Case.- Type of Case:Spec. Proc

Flelated Documents:
    -   0212012013 Civil Filing
               UNSIGNED OHDER TO SHOW CAUSE
    -   03i1112013 Civil Filing
               ORDER TO SHOW CAUSE
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               AFFIDAVIT IN SUPPORT OF APPLICATION FOR WAIVER OF OH REDUCED FILING FEE
               AUTHORIZATION
                EXHIBITS
   - 0312112013 Civil Filing
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    - 07n2l2}13 Civil Filing
          RESPONSE FOR AN EXTENSION TO RESPONSE
    - OBt16t2O13 Civil Filing
               AMENDING EXHIBITS
               AFFIDAVIT OF SERVICE
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               3 LETTER
               REQUEST FOR AN EXTENTION
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               NOTICE TO ADMIT
           .   OPPOSITION TO MOTION
               AFFIDAVIT IN OPPOSITION
               PETITION
               MEMO OF LAW
               NOTICE OF MOTION
    -   0811912013 Civil Filing
               RECEIPT.REDUCED FILING FEE
    -   0812312013 Civil Filing
               DECISION & JUDGMENT JSC MERCURE
    -   AA12712013   Civil Filing
               PETITION
               AMENDING GROUND FOR PETITON
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                   Case 1:15-cv-00922-RJA-HKS Document 1 Filed 10/26/15 Page 19 of 21




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